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                                                                                         U.S. DISTRICT COURT
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA                                2013 JAN -7 Ali 10:03
                                 STATESBORO DIVISION
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UNITED STATES OF AMERICA                                                                SO. 01ST. OF GA

V.
                                                              CR 612-05
ANTONIO LAMONT MURRAY
    aka "Mont",

                       Defend ant.


                       PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

        I.     As the result of a Jury verdict finding the Defendant, Antonio Lamont Murray,

(hereinafter, the "Defendant") guilty of all counts of the Superseding Indictment, convicting him of one

count of Conspiracy to Kidnap in violation of 18 U.S.C. § 1201(c) (Count One), two counts of

Kidnaping in violation of 18 U.S.C. § 1201(a)(1) (Counts Two and Three), three counts of Use of a

Firearm During a Crime of Violence in violation of 18 U.S.C. § 924(c)(1)(A) and (C) (Counts Four,

Five and Six), and one Count of Obstruction of Justice in violation of 18 U.S.C. § 1512(c)(2) (Count

Eleven), the Defendant shall forfeit to the United States all right, title and interest in approximately

$1,876.00 in United States Currency (hereinafter the "Subject Property"), seized from the home of the

Defendant on January 22, 2012.

       2.      The Court has determined that the Subject Property is subject to forfeiture pursuant to

18 U.S.C. § 98 1 (a)(1)(C), 28 U.S.C. § 2461(c), 18 U.S.C. § 3554, and Rule 32.2(b)(1) of the Federal

Rules of Criminal Procedure, and that the government has established the requisite nexus between such

Property and such offense, thus the Defendant shall forfeit to the United States same;

       3.      Upon entry of this Order, the United States Marshals Service or its designee, is

authorized to seize the above-mentioned Property, whether held by the Defendant or by a third party,
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and to conduct any discovery proper in identifying, locating or disposing of the Property subject to

forfeiture, in accordance with Fed. R. Crim. P. 32.2(b)(3).

          4.    Upon entry of this Order, the United States is authorized to commence any applicable

proceeding to comply with statutes governing third-party rights, including giving notice of this Order.

          5.    The United States shall publish notice of the order and its intent to dispose of the

Property in such a manner as the United States may direct. The United States may also, to the extent

practicable, provide written notice to any person known to have an alleged interest in the Property.

          6.    Any person, other than the above named Defendant, asserting a legal interest in the

Property may, within sixty (60) days of the first date of publication of notice or within thirty (30) days

of receipt of notice, whichever is earlier, petition the Court for a hearing without ajury to adjudicate

the validity of his alleged interest in the Property, and for an amendment of the order of forfeiture,

pursuant to 21 U.S.C. § 853(n) as incorporated by 18 U.S.C. § 2253(b).

          7.    Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this Preliminary Order of Forfeiture shall

become final as to the Defendant at the time of sentencing and shall be made part of the sentence and

included injudgment. If no third-party files a timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

          8.    Any petition filed by a third-party asserting an interest in the Property shall be signed

by the petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner's

right, title or interest in the Property, the time and circumstance of the petitioner's acquisition of the

right, title or interest in the Property, any additional facts supporting the petitioner's claim and the relief

sought.




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        9.      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)( I )(A) and before

a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of Civil

Procedure upon a showing that such discovery is necessary or desirable to resolve factual issues.

        10.     The United States shall have clear title to the Property following the Court's disposition

of all third-party interests, or, if none, following the expiration of the period provided in 21 U.S.C. §

853(n)(2) for the filing of third-party petitions.

        Ii.     The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e),

        12.     The Clerk of the Court shall forward four certified copies of this Order to Assistant

United States Attorney, Brian T. Rafferty, United States Attorney's Office for the Southern District of

Georgia, P.O. Box 8970, Savannah, Georgia 31401.




IT IS SO ORDERED.


        This______
             ______ dayof                            2013.




                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF GEORGIA


Prepared by: Brian T. Rafferty
Assistant United States Attorney
New York Bar No. 2509440
P.O. Box 8970
Savannah, GA 31412
U.S. v. Antonio Lamont Murray, CR612-5
